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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

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LAUREN WELLER, )
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Plaintiff, ) _
) AOCE DALLMEYER
Vs. ) No. < 2 =
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LOYOLA UNIVERSITY ) rer RATE juoGE MA ob 8 Ff
HEALTH SYSTEM, MAGIST me 3
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Defendant. ) a A“ me [2
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COMPLAINT PURSUANT TO TITLE IX OF G wz
EDUCATION AMENDMENTS OF 1972 “4 "

 

Plaintiff, LAUREN WELLER, (WELLER) by her attorneys, GAFFNEY & GAFFNEY,

for her Complaint against Loyola University Health System, (LUHS), states:

1. This cause of action is brought pursuant to Title [X of the Education Amendments

of 1972, 20 U.S.C. § 1681, et seq. This Court has jurisdiction pursuant to 28 U.S.C. § 1331.

2. LUHS is an Illinois Corporation which operates the LUHS Program for Prehospital

Medicine from the Loyola University Medical Center in Maywood, Cook County, Itlinois

3. Beginning on or about September 4, 2002, WELLER was a full-time vocational

student within the LUHS Program for Prehospital Medicine at Loyola University Medical Center

in Maywood, Cook County, Illinois, (Paramedic Training Program).

4. LUHS is a private, academic healthcare institution located at Loyola University

Medical Center in Maywood, Cook County, IIlinois. LUHS is an affiliated institution of higher

education of Loyola University of Chicago, located in Chicago, Cook County, Illinois.

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5. LUHS and Loyola University of Chicago conduct education programs and

activities that receive Federal Financial Assistance as defined by 20 U.S.C. § 1681.
COUNT I—SEXUAL HARRASSMENT

6. WELLER is female and Daniel R. Carlascio, EMS Instructor and Paramedic
Program Director, is male.

7. WELLER was repeatedly subjected by Carlascio to conduct of a sexual nature
which constitutes sexual harassment based upon her sex, female.

8. During her tenure as a student at the LUHS Program for Prehospital Medicine,
WELLER was subjected to repeated and pervasive acts of sexual harassment by her EMS
Instructor and Paramedic Program Director, Daniel R. Carlascio.

9. The conduct of Carlascio of a sexual nature committed upon WELLER because
of her sex, female, was severe and pervasive so as to alter the conditions of her academic
environment and thereby created a hostile academic environment.

10. Throughout WELLER’S tenure as a student at the LUHS Program for Prehospital
Medicine, Daniel Carlascio was her EMS Instructor and Paramedic Program Director. Whether
or not WELLER would pass or fail her academic training as a student was based upon the
training, assistance, coaching and evaluation of Daniel R. Carlascio. Daniel R. Carlascio also
engaged in quid pro quo sexual harassment in that he invited female students, including, but not
limited to, WELLER into engaging in sexual activity. Female students that accepted his proposal
to engage in sexual activity were provided preferential assistance, training, coaching and
favorable evaluation which would lead to their successful completion of the paramedic training
program. Carlascio requested that WELLER engage in sexual activity. WELLER rejected
Carlascio’s request to engage in sexual activity. As a result of WELLER’S refusal to engage in

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sexual activity with Carlascio, Carlascio failed to provide WELLER with the assistance, training
and coaching to assist WELLER in successfully completing the paramedic training program.
Instead, Carlascio unfavorably evaluated WELLER’S performance as a student, openly harassed
and criticized her in the classroom and refused to properly credit her work as a result of
WELLER’S refusal to engage him in sexual activity.

11. WELLER provided notice that she was subjected to both a hostile academic
environment and guid pro quo sexual harassment by Daniel R. Carlascio to “appropriate
persons” as defined by 20 U.S.C. § 1682. Persons at LUHS that were placed on notice of
WELLER’S allegations of sexual harassment included Christine J. Chaput, Assistant EMS
System Coordinator; Maureen Niketopoulos, Manager, Emergency Medical Services; and, Mark
E. Cichon, EMS Medical Director. As the EMS Program Director, Daniel R. Carlascio himself
was an “appropriate person” as defined by 20 U.S.C. § 1682.

12.  LUHS had prior notice of sexual harassment by Daniel R. Carlascio and was
deliberately indifferent by failing to take corrective action to end the acts of Carlascio’s sexual
harassment.

13.  Asaresult of Carlascio’s acts of sexual harassment, WELLER’S enrollment as a
student at the LUHS Program for Prehospital Medicine was terminated by Carlascio on or about
May 5, 2003. But for the sexual harassment, WELLER would have successfully completed the
LUHS paramedic training program.

COUNT II—RETALIATION

14. After WELLER engaged in statutorily protected activity by notifying officials of
LUUS that Carlascio was engaging in acts of sexual harassment, LUHS notified Carlascio and
others of WELLER’S allegations. After Carlascio was put on notice that WELLER had made

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allegations of sexual harassment against him, Carlascio engaged in retaliatory conduct which
was intended to and resulted in WELLER’S dismissal as a student at the LUHS Program for
Prehospital Medicine.

15. On May 5, 2003, Carlascio effectuated the dismissal of WELLER as a student at
LUHS. WELLER’S dismissal is causally linked to WELLER’S opposition to sexual harassment
and constitutes retaliation in violation of Title IX of Educational Amendments of 1972.

WHEREFORE, Plaintiff requests all legal and equitable relief that is available pursuant
to Tithe IX including compensatory damages, make whole relief, punitive damages, attorney’s

fees and costs of suit.

 

JURY DEMAND

Ay Puly,

Glenn R. Gaffney, ee foyMauren Weller

Plaintiff demands trial by jury.

Glenn R. Gaffney

Justin R. Gaffney
GAFFNEY & GAFFNEY
1771 Bloomingdale Road
Glendale Heights, IL 60139
(630) 462-1200

Attorney #6180598
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UNITED STATES DISTRICT COURT ci 08
NORTHERN DISTRICT OF ILLINOIS

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This automated JS-44 conforms generally to the manual JS-44 approved by the Judicial Conference of the United States in
September 1974. The data is required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet.
The information contained herein neither replaces nor supplements the filing and service of pleadings or other papers as
required by law. This form is authorized for use only in the Northern District of Illinois.

 

Defendant(s): LOYOLA GNACERSIDL MEYER

 

Plaintiff(s)) LAUREN WELLER HEALTH SYSTEM

County of Residence: DuPage County of Residence: Cook

Plaintiff's Atty: Glenn R. Gaffney Defendant's Atty: Jill M.
GAFFNEY & GAFFNEY MeGISTRATE ly DGE MASON
1771 Bloomingdale Road, 2160 S, First Aven
Glendale Heights, IL 60139 Maywo aI 60] 33
630-462-1200 ayo’

U1, Basis of Jurisdiction: 3. Federal Question (U.S. not a party)

IIL. Citizenship of Principal
Parties (Diversity Cases Only)

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Plaintiff:- N/A a“ 2s
Defendant:-N/A & o >
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IV. Origin : 1. Original Proceeding S22 Sm
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V. Nature of Suit: 440 Other Civil Rights S i on™
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VI.Cause of Action: Title IX of the Education Amendment of 1972, 20°U.S. se Section
1681 et. seq.

VIL. Requested in Complaint
Class Action: No
Dollar Demand: 6
Jury Demand: Yes

VIII. This case IS NOT a refiling of a previously dismissed case.
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Signature: CAIN A A iy | ae

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it. Once correct, print this form, sign and date it and submit it with your new civil action. Note: You may need to adjust the

 
 

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

In the Matter of

LAUREN WELLER
Vv.
LOYOLA UNIVERSITY HEALTH SYSTEM

EASTERN DIVISION

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JUDGE PALLMEYER

 

APPEARANCES ARE HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY(S) FOR:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

PlaintitfLAUREN WELLER MAGISTRATE JUDGE MASON
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